          Case 1:21-cr-00156-JDB Document 26 Filed 04/06/21 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :       Case No. 21-cr-156 (JDB)
                                             :
STEPHEN AYRES and                            :
MATTHEW PERNA,                               :
                                             :
                      Defendants.            :


                                      STATUS REPORT

       The United States of America, by its undersigned counsel and in accordance with the

Court’s March 9, 2021 Order, hereby provides the Court with this Status Report. The Government

states as follows:

       1. On March 30, 2021, the Court entered a Protective Order governing discovery in this

           case (Doc. 24).

       2. The Government began providing “informal discovery” in this case on March 11, 2021.

           See Doc. 25. The Government hopes to have the remaining “informal discovery” (the

           results of the search of a cell phone and a video from inside the Capitol) to defense

           counsel by April 9, 2021. In this case, the “informal discovery” represents the material

           in possession of undersigned counsel and the agents assigned to this case. Undersigned

           counsel is not aware if the defendants appear in the additional video/audio materials.




                                                 2
  Case 1:21-cr-00156-JDB Document 26 Filed 04/06/21 Page 2 of 2




3. The Government will continue to provide discovery to the defendants in accordance

   with Rule 16 and the Court’s Protective Order.

                                    Respectfully submitted,

                                    CHANNING D. PHILLIPS
                                    Acting United States Attorney
                                    DC Bar No. 415793


                            By:           /s/ Nihar R. Mohanty
                                    NIHAR R. MOHANTY
                                    Assistant United States Attorney
                                    D.C. Bar No. 436-686
                                    United States Attorney’s Office for the
                                    District of Columbia
                                    555 4th Street, N.W.
                                    Room 4120
                                    Washington, D.C. 20530
                                    (202) 252-7700
                                    Nihar.Mohanty@usdoj.gov




                                       3
